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                                                                                s.D.t:)F7FLA.-FT.LA(JD.

                    Case N o.:


    U S BAN K TRU ST N .A .                  )
          Plaintiff,                         )             NOTICE OF REM OVAL
                                             )             (Diversity- 28 US.C.1331)
    V s.                                     )
                                             )
    JANICE ELLERY,et.al                      )
         Defendant.                          )
                                 NO TICE OF REM OVAL

           ThismatterwascommencedonDefendant'sObjectiontoajudicialsaleliledinthe
           17thJudicialCircuitinandforBroward Cotmty,Florida(theçlstatecotuf'l,under
           case numberCACE 19-011770. A copy ofthe state courtObjection to Sale is
           attached hereto asExhibitA.

       2. ThisisacivilmatterofwhichthisCourthasoriginaljurisdictionunder28U.S.C.
           j1332-DiversityJurisdiction;andisacasethatmayberemovedtothisCourtby
           defendantpursuantto the provisionsof28 U.S.C.j1441(b),in thatitisa civil
           proceeding between citizensofdifferentstates.

       3. Defendantisinformedandbelievesthatplaintiff,USBankTrtzstN.A.(hereinafter,
           ICUS BANK''),was,atthe time it filed the state courtmotion,and stillis,a
           corporation,incorporated in the Slte ofM innesota and/orm aintainsitsprinciple

           place of business in Saint Paul M innesota. Additionally,none of the nam ed

           Defendants,including myself,Janice Ellery wasnot,atthe tim e 1,the Defendant

           filedthestatecourtObjectiontoSale,andstillarenot,citizensofM imzesota.




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       4. H ere.itisalleged thatPlaintiff,U S BA N K acted w ithoutauthority and/orw ithout

          courtperm ission when itfled itsApril14,2023 M otion forW ritofPossession and

          it'sM ay 22,2023 N otice ofHeming in the Florida State Court. Certainly,Plaintiff

          knowsthatthe statecourtcannotgrantsuch am otion,priorto Plaintiffcomplying

          with federalmortgage servicing laws.

                                         A rgum ent

    USBank'
          sFailuretoComplywith 12C.F.R.1006.18(19(2)
       5. 12 C.F.R. j 1006.18(b)(2) - False,Deceptive,or M isleading Representations
          providesthat:*(b)(2)A debtcollectormustnotfalselyrepresent:(i)Thecharacter,
          amount,orlegalstatusofarlydebt;and(ii)Anysezvicesrendered,orcompensation
          thatm ay be lawfully received,by any debtcollector forthe collection ofa debt.

       6. On December 16,2021,afinaljudgmentofforeclosure wasentered in favorof
          Plaintiffin thetotalamountof$375,078.95.Paragraph eight(8)oftheDecember
           16,2021finaljudgmentprovidesinrelevantpartasfollows:
                     8. ûton filing the Certificate of Title,the Clerk shalldistribute the
                  . . . ..

                 proceedsofthesaleto Plaintiffc/o Diaz Anselmo & Associates,P.A .,PO
                 Box 19519,FortLauderdale,FL 33318,so faras they are suftk ient,by
                 paying:(a)A1lofPlaintiffscost;(b)Plaintitrsattorneys'fees;and(c)The
                 totalsum duetoPlaintiffassetforthabove,lesstheitem spaid,with interest
                 atthe currentstatutory interestrate from the date through w hich interestis
                 calculatedinparagyph1abovetothedateofthesale.Iflsubsequenttothe
                 date of the Plaintlfps A ffidavit of lndebtedness and prior to the sale
                 contem plated in paragraph 5 hereof,the Plaintiffhms to advance m oney to
                 protect its mortgage lien,including but not limited to postjudgment
                 advancesforproperty taxesand insttrance,propertj preservation costs,
                 postsjudgmentatlonwy'sfeesand costs and postJudgmentbanknzptcy
                 attorneyfeesandcosts,thePlaintifforitsAttorneysshallcertify byaffidavit
                 totheClerk andtheamountdueto Plaintiffshallbeincre% edby theam ount
                 ofsuch advanceswithoutf'urtherorderoftheCourt.




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          Therefore,accordingtoparagrapheight(8)ofthefinaljudgment,PlaintifFsability
          to advance post-judgmentfees and cost,are nottriggered untilitl and when a
          çûcertificateofTitle''isfiled inthestatecourtcase. Infact,paragraph 8(c)ofthe
          finaljudgmentspeciticallystatesthat:
                         ççifpriorto the sale.....the Plaintiffhasto çladvance m oney''such as
                         postjudgmentadvancesforpropertyt> esand insurancetoprotect
                         itsm ortgage ...thePlaintifforitsA ttorneysshallcertify by affidavit
                         to the Clerk and the am otm tand the am ountdue to Plaintiffshallbe
                         increasedbytheamountofsuchadvances...''(Emphasisadded).
       8. However,asofthedateofthisCom plaint,N O salehasoccurred andNO Certificate

          ofTitle had been filed by the Clerk.Additionally,Plaintiff(through itsagent
          attorney),hasnotççcertified''thenmountduebyaffidavittotheClerk.Therefore,
          on Septem ber22,2022,Plaintiff'sdem andsforsaid Eladvancem oney'',wasclearly

          premature.A copy ofthe December16,2021finaljudgment,isattach hereto as
          ExhibitLW ''

          On Septem ber22,2022,Plaintiff'sagentsentD efendant a lettershow ing the total

          amountIneeded to pay,in orderto pay offthe balance ofthe subjectmortgage
          loan. Plaintifrs September22,2022 collection letterism isleadingly false,as it

          appears to be based totally on a tt-l-otal U npaid Principal Balance'' am ount of

          $195,658.98 and not on the December 16,2021 finaljudgment amount of
          $375,078.95 - that factalone,renders the September 22,2022 payoff demand
          inaccurately m isleading and false. A copy ofPlaintiffagent's Septem ber22,2022

          payoffdem and is attached hereto as ExhibitCûB''
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       10.Nevertheless,itisclearon theface ofitsSeptember22,2022 collection letter,that

          Plaintiff, throug,
                           h its agent, is dem anding çtadditional expenses'' other than the

          $51,742.56 interest charges that's authorized by the December 16,2021 final

         judgment.Certainly,such ademandonthepartofPlaintiffisfalselyrepresenting
          the truecharacterand am otmtofthe alleged debt,and therefore,doesnotcomply

          with 12 C.F.R.j 1006.18(b)(2).
       l1.Asofthe date ofitsSeptem ber22,2021demand letter,N O foreclostzresaleofthe

          subjectpropertylocatedat214SW 2ndPlace,Dania,Florida33004hadoccurred.
          Therefore,Plaintiffs Septem ber 22,2022 letler is clearly an unfair attem pt to

          collectadditionalexpensesthat(according to the finaljudgment),itisnotyet
          entitledtocollect.Thus,PlaintifpsSeptem ber22,2022demand/collection letteris

          inviolationofthisBureau'sRulesunder12C.F.R.j 1006.18(b)(2).
       l2.Based on paragraph eight(8)oftheDecember16,2021finaljudgment,Plaintiftl
          through itsagent,isfalsely representingthetruecharacterofthe $393,856.57total

          payoffamount,because said payoffamountprematurely includespostjudgment
          expenses- otherthanpostjudgmentinterest.Asaresult,myabilityto detennine
          thevalidity ofthe totalamountallegedly owed,hasbeen im paired by the Plaintiff.

          The September22.2022 letterisindeed falseand misleading under 12 C.F.R.j
          1006.18(b)(2),andisanunfairattempttocollecttmauthorizedfeesandexpenses.
       13.The above violations on the partof Plaintiff,has prevented,hindered, and/or

          delayed m e,or som eone on my behalf,from contidently making a finalpaym ent

          thatwouldpay offthecorrectbalanceofthesubjectmortgageloan. M oreover,
          Plaintiffsmisleading and unfairpre-maturedemandsforpostjudgmentfeesand



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           cost,ispreventing us from selling the subjectproperty,and extinguishing the
           alleged debt- and to do,beforetheproperty islostin aforeclosuresale.

           W HEREFORE,1,the Defendant Janice Ellery,respectfully requestthis Court

    strike Plaintiff's M ay 22,2023 state courtNotice ofHearing,and to allow Defendant's

    ObjectiontoSaletoproceedinthisCourqandforanyfurtherreliefdeemsjustandproper.

   y
     anice Eller
               a
                y        f.''
    214 SW 2n?Place
    D ania,Florida 33004




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